                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



PEOPLEREADY, INC.,

                               Plaintiff,
v.                                                                    1:17-cv-12088-FDS


NAUSET CONSTRUCTION CORPORATION – and –
TRAVELERS CASUALTY AND SURETY
COMPANY OF AMERICA,

                               Defendants.


                                STIPULATION OF DISMISSAL

       The Plaintiff, Peopleready, Inc., Defendant, Nauset Construction Corp., and Defendant

Travelers Casualty and Surety Company of America, by and through counsel and pursuant to

Fed. R. Civ. P. 41(a)(1)(ii), stipulate that the above-captioned matter, including all claims are

dismissed, with prejudice, with each party to bear their own costs and attorneys’ fees. All rights

of appeal are waived.
Respectfully submitted,

PEOPLEREADY, INC.,

By its attorneys,


/s/ Christopher S. Tolley (s/ JJM with Permission)
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-and-


NAUSET CONSTRUCTION CORPORATION – and –
TRAVELERS CASUALTY AND SURETY
COMPANY OF AMERICA,

By their attorneys,


/s/ John J. McNamara
John J. McNamara
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Dated: August 16, 2018




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               CERTIFICATION PURSUANT TO LOCAL RULE 16.1(d)(3)
                          CERTIFICATE OF SERVICE

        I hereby certify that the foregoing has been filed through the ECF system and will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent by first class mail, postage prepaid, to those indicated as non-
registered NEF participants on this 16th day of August, 2018.


                                                      /s/ John J. McNamara
                                                      John J. McNamara
